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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             NORTHERN DIVISION

RODRIGUES JONES                                                                     PLAINTIFF
#121074

V.                               NO. 3:19-cv-00327-JM-JTR

KEVIN MOLDER, Sheriff,
Poinsett County, et al.                                                           DEFENDANTS


                                            ORDER

      Plaintiff Rodrigues Jones (“Jones”) has filed a Motion for Leave to Proceed

In Forma Pauperis, Doc. 1, and a pro se § 1983 Complaint, Doc. 2.

      When Jones initiated this action, he was a pretrial detainee at the Poinsett

County Detention Center (“PCDC”). However, the PCDC website no longer shows

Jones on the inmate roster, and he is also not listed on the Arkansas Division of

Correction website. Although he was obligated to do so, Jones failed to notify the

Court that his address changed.1



      1
          Jones is obligated to comply with Local Rule 5.5(c)(2), which states:

      It is the duty of any party not represented by counsel to promptly notify the Clerk
      and the other parties to the proceedings of any change in his or her address, to
      monitor the progress of the case, and to prosecute or defend the action diligently.
      A party appearing for himself/herself shall sign his/her pleadings and state
      his/her address, zip code, and telephone number. If any communication from the
      Court to a pro se plaintiff is not responded to within thirty (30) days, the case
      may be dismissed without prejudice. Any party proceeding pro se shall be
      expected to be familiar with and follow the Federal Rules of Civil Procedure.
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      If Jones wishes to continue pursuing this lawsuit, he must: (1) provide the

Court with an updated address; and (2) file an updated in forma pauperis application

or pay the $400 filing fee for this action.

      IT IS THEREFORE ORDERED THAT:

      1.     Jones’s Motion for Leave to Proceed In Forma Pauperis, Doc. 1, is

DENIED.

      2.     The Clerk is directed to mail Jones a free-world Application to Proceed

In Forma Pauperis.

      3.     If Jones wishes to continue pursuing this lawsuit, he must, within

fourteen days of this Order, either: (a) file a completed free-world Application to

Proceed In Forma Pauperis; or (b) pay the filing fee for this action.

      4.     If Jones fails to comply with this Order, this case will be dismissed,

without prejudice, pursuant to Local Rule 5.5(c)(2).

      It is so ordered this 20th day of October, 2020.



                                  ______________________________________
                                  UNITED STATES MAGISTRATE JUDGE
